     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 1 of 19




               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF OREGON


U.S. SPECIALTY INSURANCE                      3:17-cv-01658-BR
COMPANY, a Texas corporation,
                                              OPINION AND ORDER
          Plaintiff,

v.

ELCON ASSOCIATES, INC., an
Oregon corporation

          Defendant.


JASMINE C. HITES
Troutman Sanders, LLP
100 S.W. Main St.
Suite 1000
Portland, OR 97204
(503) 290-2344

TERRENCE R. MCINNIS
BINH DUONG T. PHAM
Troutman Sanders LLP
5 Park Plaza, Suite 1400
Irvine, CA 92714
(949) 622-2705

          Attorneys for Plaintiff


1 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 2 of 19




GREGORY L. BAIRD
Gordon & Polscer, LLC
9755 S.W. Barnes Road
Suite 650
Portland, OR 97225
(503) 242-2922

PETER J. MORGAN
Morgan Rider Riter Tsai, P.C.
1512 Larimer Street
Suite 450
Denver, CO 80202
(303) 623-1839

          Attorneys for Defendant


BROWN, Judge.

     This matter comes before the Court on Plaintiff U.S.

Specialty Insurance Company’s Request (#45) for Judicial Notice

and Defendant Elcon Associates’s Motion (#42) to Dismiss Pursuant

to the Federal Declaratory Judgment Act.         The Court has reviewed

the record on these Motions and concludes it is sufficiently

developed such that oral argument would not be helpful.              For the

reasons that follow, the Court GRANTS in part and DENIES in part

Plaintiff’s Request for Judicial Notice and DENIES Elcon’s Motion

to Dismiss.



                               BACKGROUND

     The following facts are taken from the Amended Complaint and

the parties’ materials related to Defendant’s Motion to Dismiss.




2 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 3 of 19




I.   The Construction Dispute

      Defendant Fluor/HDR Global Design Consultant’s (F/HDR) is a

limited liability company with two shareholders:            Fluor

Corporation and HDR Engineering, Inc.        F/HDR is incorporated in

Delaware, and its principal place of business is Greenville,

South Carolina.   F/HDR was established for the purpose of

pursuing and delivering transportation “design-build projects [in

North America] with anticipated construction values in excess of

$500 million.”    In 2009 F/HDR developed a “specific and unique

Business Plan . . . addressing how [it] intended to get awarded”

those kinds of projects.     Second Aff. of Bruce Gerhardt at ¶ 2.

     On June 9, 2008, F/HDR and Defendant Elcon Associates, Inc.,

“entered into a Teaming Agreement, . . . which was amended on

January 29, 2009.”   Am. Compl. at ¶ 16.       The Teaming Agreement

related to the design and construction of the Eagle P3 commuter

rail in Denver, Colorado (the Eagle Project).          The Teaming

Agreement and Task Order No. 13 “tasked” Elcon with “preliminary

design of the Overhead Contact Systems (OCS) poles.”             Am. Compl.

at ¶ 17.   Elcon was also “required to design the OCS in

sufficient detail to quantify the construction work required and

[to] determine typical details for the OCS poles and foundations

for cost estimating purposes.”      Id. (quotation omitted).

     At some point in 2010 Denver Transit Constructors (DTC) was

awarded the contract to perform work on the Eagle Project “based


3 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 4 of 19




on the . . . cost proposal [it submitted] that relied in part on

the information provded by F/HDR and Elcon, including Elcon’s

design parameters for the OCS poles prepared for cost estimating

purposes.”   Am. Compl. at ¶20.

     On September 1, 2010, DTC entered into a design contract

with F/HDR for the “final design and construction on the [Eagle]

Project.    Once that agreement was executed, [F/HDR] executed

subcontracts with its subconsultants, including Elcon.”

Am. Compl. at ¶ 21.

     At some point DTC “discovered . . . the information and

design parameters Elcon provided during the Proposal Phase

regarding the sizes and height of the OCS poles were

significantly underestimated, resulting in a substantial price

difference between the proposal and final design and construction

of the OCS poles (the ‘OCS Pole Allocation Design Dispute’).”

Am. Compl. at ¶ 22.

     In February 2014 DTC and FHDR agreed the OCS Pole Allocation

Design Dispute “remain[ed] open and should be submitted as an

[errors & omissions] claim under a professional liability

insurance policy.   DTC agreed to provide a formal notice to

[F/HDR] of the remaining potential errors & omissions claims that

had not been resolved, including the OCS Pole Allocation Design

Dispute.”    Am. Compl. at ¶ 26 (quotation omitted).

     On March 14, 2014, DTC sent F/HDR a letter in which it


4 - OPINION AND ORDER
      Case 3:17-cv-01658-BR    Document 50   Filed 05/29/18    Page 5 of 19




asserted F/HDR failed to meet the standard of care for providing

professional services in connection with “certain proposal and

execution related services” and demanded “repayment of costs

incurred as a result of these errors and/or omissions” (the DTC

Demand Letter).    The DTC Demand Letter set out several alleged

deficiencies “in support of DTC’s proposal,” including the

“Design of OCS Poles.”        Am. Compl. at ¶ 27.

II.   The Insurance Dispute

      Before May 2014 Elcon had been insured by Plaintiff “under

successive professional liability policies . . . with limits of

$1 million per Claim.”        Am. Compl. at ¶ 32 (emphasis in

original).

      On April 2, 2014, Elcon submitted a “renewal application for

the May 6, 2014 to May 6, 2015 policy year with [Plaintiff]

seeking limits of liability of $1 million per Claim.”                Am. Compl.

at ¶ 33 (emphasis in original).

      On April 28, 2014, Elcon requested Plaintiff to increase the

limits of liability from $1 million per claim to $5 million per

claim.   Plaintiff agreed to increase the liability limits.

      In 2015 Plaintiff issued Policy No. USS 15 25806 to Elcon

for the period of May 6, 2015, to May 6, 2016.                The Policy

provided in relevant part:

             The Company shall pay Loss and Claim Expenses
             . . . that an Insured shall become legally
             obligated to pay as a result of a Claim made

5 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 6 of 19




          against an Insured for a Wrongful Act arising from
          Professional Services, provided always that:
          (1) the Claim is first made against an Insured
          during the Policy Period . . . ; [and] (2) an
          Insured’s partners, principals, officers,
          directors, members or insurance managers had no
          knowledge of any circumstance, dispute, situation
          or incident that gave rise to such Claim or could
          reasonably have been expected to give rise to such
          Claim prior to the Knowledge Date [of May 6,
          2014].

Am. Compl., Ex. 1 at 1(A)(emphasis in original).            The policy also

contained a Limit of Liability of $5 million “for each Claim

. . . and in the aggregate.”     Am. Compl. at ¶ 13.         The Limit of

Liability, however, also contained an endorsement amending

coverage as follows:    “That portion of the Limit of Liability in

excess of $1,000,000/$2,000,000 shall have a Retroactive Date of

05/06/2014.”   Am. Compl., Ex. 1 at 26.

     On November 10, 2015, Elcon “first provided notice to

[Plaintiff] of its dispute with [F/HDR].”         Am. Compl. at ¶ 50.

     On December 1, 2015, Plaintiff agreed to defend Elcon in its

dispute with DTC subject to “complete reservation of rights.”

Am. Compl., Ex. 4 at 1.      Specifically, Plaintiff noted the Policy

          requires that the Insured have no knowledge of the
          Wrongful Act prior to the Knowledge Date[,] . . .
          May 6, 2014. Accordingly, [Plaintiff reserved]
          all rights under the Policy . . ., including, but
          not limited to, the right to deny indemnity and
          withdraw from the defense of any Insured for any
          Wrongful Act of which you were aware prior to the
          Knowledge Date [of May 6, 2014].

Am. Compl., Ex. 4 at 3 (emphasis in original).



6 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 7 of 19




III. The Underlying Action

     On March 3, 2016, DTC filed a breach-of-contract action in

Colorado state court against F/HDR alleging F/HDR “committed

errors in the design and construction of the [Eagle] Project.”

Am. Compl. at ¶ 43.

     On November 9, 2016, F/HDR filed a third-party complaint

against Elcon and other subconsultants in the Colorado state-

court action asserting claims for breach of contract and

indemnification.

     Plaintiff alleges:

          As the litigation in the [Colorado state court]
          continued, it became increasingly clear that
          [F/HDR’s] third-party claims against Elcon were
          based solely on the circumstances, situations or
          disputes first identified in the April 25, 2014
          Letter, and that the conduct at issue in [the
          Colorado state court matter] related solely to the
          alleged deficiencies with the preliminary design
          and/or specifications of the OCS Poles . . .
          [completed] by Elcon years before the May 6, 2014
          Retroactive Date.

Am. Compl. at ¶ 54.   Accordingly, on September 25, 2017,

Plaintiff advised Elcon that

          no coverage was afforded for [F/HDR’s] third-party
          claims against Elcon in the [Colorado state-court
          action] because the [Policy] was not triggered
          pursuant to the Prior Knowledge Date Condition
          and, even if coverage were afforded, the matter
          would be subject to a $1 million Limit of
          Liability pursuant to the Policy’s Retroactive
          Date Amendment Endorsement.

Am. Compl. at ¶ 55.

     At some point DTC and F/HDR mediated and settled all claims

7 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 8 of 19




between them in the Colorado state-court action, including claims

related to Elcon’s OCS Pole design.        F/HDR separately settled

with all subconsultants except Elcon.        The Colorado state-court

action is still proceeding as to F/HDR and Elcon.

     On October 18, 2017, Plaintiff filed a Declaratory Judgment

action in this Court against F/HDR and Elcon in which Plaintiff

sought a judicial determination of its rights and obligations

under the Policy.   Specifically, Plaintiff sought (1) a

declaration that “the Policy does not afford coverage for

[F/HDR’s] claims against Elcon in the [Colorado state-court

action], and that [Plaintiff] does not have, and never had, a

duty to defend or indemnify Elcon” in the Colorado action

“because Elcon failed to satisfy the Prior Knowledge Date

Condition”; (2) a declaration that “the extent any coverage is

afforded under the Policy for [F/HDR’s] claims against Elcon in

the [Colorado state-court action], the applicable Limit of

Liability is $1 million pursuant to the Policy’s Retroactive Date

Amendment Endorsement”; and (3) recoupment from Elcon all of the

amounts paid under the Policy in connection with [F/HDR’s] claims

in the [Colorado state-court action] that occurred after the

prior-knowledge date of May 6, 2014.

     On November 22, 2017, F/HDR filed a Motion to Dismiss for

Lack of Personal Jurisdiction Pursuant to FRCP 12(b)(2).

     On December 7, 2017, Elcon filed a Motion to Dismiss


8 - OPINION AND ORDER
         Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 9 of 19




Pursuant to Fed. R. Civ. P. 12(b)(6) & (7) or, in the

Alternative, Motion to Stay Proceedings.

     On February 7, 2018, F/HDR, Elcon, and Plaintiff entered

into a settlement agreement in which they agreed, among other

things, that Plaintiff would pay $625,000 to F/HDR under the

Policy on behalf of Elcon in settlement of F/HDR’s claims against

Elcon and subject to Plaintiff’s full reservation of rights.

Plaintiff retained the right to recover from Elcon the settlement

payment and defense costs paid under the Policy.

     On February 7, 2018, Plaintiff also filed a Notice of

Voluntary Dismissal of F/HDR from this action.

     On February 14, 2018, the Colorado state court dismissed all

claims between Elcon and F/HDR and granted Elcon leave to file a

third-party complaint against Plaintiff and Zurich American

Insurance Company1 in that court.          In its third-party complaint

Elcon brought claims against Plaintiff for breach of contract and

bad faith in connection with Plaintiff’s handling of F/HDR’s

claim against Elcon in the Colorado state-court action and claims

against Zurich for the breach of its obligations to Elcon under a

different insurance policy.

     On February 14, 2018, this Court entered an Order Dismissing

F/HDR from this action.          This Court also entered an Order denying

as moot Elcon’s Motion to Dismiss and granting Plaintiff leave to


     1
         Zurich is not a party to the action pending in this Court.

9 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 10 of 19




file an Amended Complaint.

     On February 28, 2018, Plaintiff filed in this Court a First

Amended Complaint against Elcon in which Plaintiff brings three

claims for declaratory judgment, a claim for “recoupment/

restitution/unjust enrichment,” and a claim for “tortious

misrepresentation/concealment of material fact.”            Plaintiff seeks

various declarations of its rights, restitution, “other

appropriate equitable relief,” and compensatory damages in excess

of $900,000.   This Court has diversity jurisdiction.

     On March 6, 2018, Elcon filed a Motion to Dismiss Pursuant

to the Federal Declaratory Judgment Act.

     On March 16, 2018, Plaintiff and Zurich removed the Colorado

state-court action to the United States District Court for the

District of Colorado.

     On March 20, 2018, Plaintiff filed its Response to Elcon’s

Motion to Dismiss and a Request for Judicial Notice.

     The Court took the parties’ Motions under advisement on

April 3, 2018.



          PLAINTIFF’S REQUEST (#45) FOR JUDICIAL NOTICE

     Plaintiff requests the Court to take judicial notice of

(1) the February 14, 2018, order of dismissal with prejudice of

all claims between Elcon and F/HDR in the Colorado state-court

action; (2) the February 14, 2018, order by the Colorado state


10 - OPINION AND ORDER
      Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 11 of 19




court granting Elcon’s motion for leave to file a third-party

complaint against Zurich in that action; and (3) the March 16,

2018, Notice of Removal of the Colorado state-court action to the

United States District Court for the District of Colorado.

I.    Standards

      Federal Rule of Evidence 201 allows a court to take judicial

notice of facts that can be “accurately and readily determined

from sources whose accuracy cannot reasonably be questioned.”

Fed. R. Evid. 201(b)(2).      The court may take judicial notice of

documents that are matters of public record.            See MGIC Indem.

Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986)(A district

court may take “judicial notice of matters of public record

outside the pleadings" when determining whether a complaint fails

to state a claim.).

II.   Analysis

      Elcon opposes Plaintiff’s request for the Court to take

judicial notice to the extent that Plaintiff seeks to rely on the

truth of the facts contained in the documents rather than the

mere existence of the documents themselves.

      The Ninth Circuit has made clear that “[o]n a Rule 12(b)(6)

motion to dismiss, when a court takes judicial notice of another

court’s opinion, it may do so not for the truth of the facts

recited therein, but for the existence of the opinion.”               Lee v.

City of Los Angeles, 250 F.3d 668, 690 (9th Cir. 2001)(quotation


11 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 12 of 19




omitted).    This Court, therefore, may take judicial notice of the

existence of the Colorado state-court’s orders and the notice of

removal, but it may not take judicial notice of the facts recited

in those documents for the truth of those facts.

     Accordingly, the Court grants Plaintiff’s Request for

Judicial Notice to the extent that the Court takes notice that

the Colorado state-court issued the February 14, 2018, orders and

Elcon and Zurich removed the Colorado state-court matter to

federal court.    The Court, however, denies Plaintiff’s request to

the extent that Plaintiff asks the Court to take notice of the

truth of the facts recited in the orders or in the notice of

removal.



            ELCON’S MOTION (#42) TO DISMISS PURSUANT TO THE
                    FEDERAL DECLARATORY JUDGMENT ACT

     Elcon asserts the Court should exercise its discretion under

the Federal Declaratory Judgment Act to decline jurisdiction over

this case pursuant to Brillhart v. Excess Ins. Co., 316 U.S. 491

(1942), in light of the parallel Colorado action that “addresses

identical coverage issues raised in this case.”

     Plaintiff opposes dismissal of this action on the ground

that Brillhart is inapplicable because there is not any parallel

state-court proceeding and it would be an abuse of discretion for

this Court to abstain from deciding this matter.



12 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 13 of 19




I.   Declaratory Judgment Standards

     The Declaratory Judgment Act provides:          "In a case of actual

controversy within its jurisdiction, . . . any court of the

United States . . . may declare the rights and other legal

relations of any interested party seeking such declaration."

28 U.S.C. § 2201(a).    The Declaratory Judgment Act confers on

federal courts “unique and substantial discretion in deciding

whether to declare the rights of litigants.”           Wilton v. Seven

Falls Co., 515 U.S. 277, 286 (1995).        See also R.R. Street & Co.

Inc. v. Transport Ins. Co., 656 F.3d 966, 975 (9th Cir. 2011)

(same).   The Supreme Court has “repeatedly characterized the

Declaratory Judgment Act as an enabling Act, which confers a

discretion on the courts rather than an absolute right upon the

litigant.”     Wilton, 515 U.S. at 287 (quotation omitted).

“When all is said and done, we have concluded, the propriety of

declaratory relief in a particular case will depend upon a

circumspect sense of its fitness informed by the teachings and

experience concerning the functions and extent of federal

judicial power.”     Id. (quotation omitted).       Thus, the exercise of

jurisdiction under the Declaratory Judgment Act is at the

discretion of the district court.      Gov't Emp. Ins. Co. v. Dizol,

133 F.3d 1220, 1223 (9th Cir. 1998).       See also Winstead v. State

Farm Mut. Automobile Ins. Co., 669 F. App’x 910, 910 (9th Cir.

2016)(same).    “Even if the district court has subject matter


13 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 14 of 19




jurisdiction, it is not required to exercise its authority to

hear the case."    Huth v. Hartford Ins. Co. of the Midwest, 298

F.3d 800, 802 (9th Cir. 2002).     "[A] District Court[, however,]

cannot decline to entertain such an action as a matter of whim or

personal disinclination."      Id. at 803.     When determining whether

to retain jurisdiction in a properly filed declaratory-judgment

action, the court "must make a sufficient record of its reasoning

to enable appropriate appellate review."         Id.

      In Wilton the Supreme Court held Brillhart governs the

propriety of a district court's decision to stay a declaratory-

judgment action.   515 U.S. at 289-90.       In Brillhart the Supreme

Court concluded a federal court sitting in diversity and

presiding over an action for declaratory relief may exercise its

discretion to dismiss the action when another action is pending

in state court between the same parties and presents the same

issues of state law.     Brillhart, 316 U.S. at 495 (“Ordinarily it

would be uneconomical as well as vexatious for a federal court to

proceed in a declaratory judgment suit whe[n] another suit is

pending in a state court presenting the same issues, not governed

by federal law, between the same parties.”).           Brillhart and its

progeny set out three factors for courts to consider when

determining whether to exercise jurisdiction over a declaratory-

judgment action initially:      (1) avoiding needless determinations

of state-law issues, (2) discouraging litigants from filing


14 - OPINION AND ORDER
      Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 15 of 19




declaratory actions as a means of forum shopping, and

(3) avoiding duplicative litigation.         See, e.g., Nationwide Ins.

Co. of Am. v. Marquez, No. 2:16-cv-01978-W, 2016 WL 7104240, at

*5 (E.D. Cal. Dec. 5. 2016)(enumerating Brillhart factors).

II.   Analysis

      As noted, Plaintiff asserts Brillhart does not apply in this

instance because the Colorado state-court action was removed to

federal court, and, therefore, there is no longer any state-court

action.   Although the Ninth Circuit has not addressed this issue

specifically, other courts have concluded Brillhart is

inapplicable when there is not any parallel state-court

proceeding and it may be an abuse of the district court’s

discretion to dismiss a declaratory judgment action under those

circumstances.    See, e.g., Federal Reserve Bank of Atlanta v.

Thomas, 220 F.3d 1235, 1247 (11th Cir. 2000)(“A court may

exercise its discretion to dismiss a declaratory judgment action

in favor of a pending state court proceeding that will resolve

the same state law issues.       It is an abuse of discretion,

however, to dismiss a declaratory judgment action in favor of a

state court proceeding that does not exist.”); Marquez, 2016 WL

7104240, at *5 (“[M]y non-exhaustive search of precedent in the

Ninth Circuit did not find any case on point.            But courts in

other jurisdictions have concluded that the Brillhart abstention

doctrine is inapplicable where, as here, there is no parallel


15 - OPINION AND ORDER
        Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 16 of 19




state court proceeding.”); Zurich Am. Ins. Co. v. Philpot,

No. 2:16-cv-01978-W, 2009 WL 10671921, at *5 (S.D. Cal. Sept. 4,

2009)(“There is no parallel state proceeding pending in this

case.    Thus, the Court does not risk the ‘[g]ratuitous

interference with the orderly and comprehensive disposition of

. . . state court litigation’ by maintaining jurisdiction over

the action.     Brillhart, 316 U.S. at 495.         Therefore, the

Brillhart factors are inapplicable.”); Am. Cas. Co. of Reading,

Pa. v. Sanders Hyland Corp., No. CA 06- 0813-C, 2007 WL 841743,

at *6 (S.D. Ala. Mar. 16, 2007)(“While the Supreme Court has not

delineated the outer boundaries of the discretion of a district

court regarding the Brillhart abstention doctrine, it is clear

from case law in this circuit and elsewhere that whe[n] there are

no parallel state proceedings, as in the instant case, the

Brillhart abstention doctrine is inapplicable and it is an abuse

of discretion to dismiss a declaratory judgment action in favor

of a state court proceeding that does not exist.”).

        Here, as noted, there is no longer any parallel state-court

proceeding.     Instead Elcon’s third-party Colorado state-court

complaint was removed to federal court.            Although two district

courts in California have in the past applied the Brillhart

doctrine in cases in which there were parallel federal actions,

those courts have more recently declined to do so.                For example,

in Golden State Orthopaedics, Inc. v. Howmedica Osteonics


16 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 17 of 19




Corporation the court noted:

          While some district courts have applied the
          Brillhart doctrine in cases with two parallel
          federal actions, see, e.g., Schmitt v. JD Edwards
          World Solutions Co., 2001 WL 590039 (N.D. Cal.
          2001), Qualcomm, Inc. v. GTE Wireless, Inc., 79 F.
          Supp. 2d 1177, 1179 (S.D. Cal. 1999), several of
          the justifications for Brillhart abstention are
          absent when the parallel case is in federal rather
          than state court. If both cases are pending in
          federal court and there is no parallel state court
          case, there is no question of federal and state
          courts deciding the same issue unnecessarily, nor
          is there a risk of forum shopping by parties
          seeking to avoid state courts that would otherwise
          hear their claims.

No. C 14-3073 PJH, 2014 WL 12691050, at *6 (N.D. Cal. Oct. 31,

2014)(citation omitted).     Similarly, in Meras Engineering, Inc.

v. CH2O, Inc., the court noted:

          This case is . . . outside the rule articulated in
          Brillhart. . . . [I]n this case, the parallel
          proceeding is in federal rather than state court.
          While some California district courts have applied
          the rule in Brillhart in cases with two parallel
          federal actions, see Qualcomm, Inc. v. GTE
          Wireless, Inc., 79 F. Supp.2d 1177, 1179 (S.D.
          Cal. 1999); Schmidtt v. JD Edwards World Solutions
          Co., 2001 WL 590039 (N.D. Cal. 2001), several of
          the justifications for Brillhart abstention are
          absent when the parallel case is in federal rather
          than state court. First, the Brillhart rule seeks
          to avoid federal courts ruling on questions of
          state law unnecessarily. Second, the rule
          discourages forum shopping by parties seeking to
          avoid state courts that would otherwise hear their
          claims. These two rationales are absent when both
          pending cases are in federal court.

No. C-11-0389 EMC, 2013 WL 146341, at *6 (N.D. Cal. Jan. 14,

2013)(citation omitted).

     The Court finds the reasoning of Golden State Orthopaedics

17 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 18 of 19




and Meras Engineering to be persuasive and adopts it.

Accordingly, the Court concludes the Brillhart doctrine does not

apply when, as here, there are two parallel federal proceedings.

     Although Elcon asserts the fact that the Colorado action has

been removed to federal court does not negate the applicability

of Brillhart because Plaintiff’s removal of that action “was

improvident and the Colorado action is likely to be remanded to

state court,” this Court declines to address or to decide whether

the Colorado action was properly removed.          That decision rests

with the District Court of Colorado.        This Court must determine

only whether the Brillhart doctrine applies to this matter in its

present procedural posture.      Thus, the Court concludes the

Brillhart doctrine does not apply because there is not currently

a state-court action pending, and, therefore, dismissal of this

action based on that doctrine would be an abuse of discretion.

     Accordingly, the Court denies Elcon’s Motion to Dismiss.

The Court, however, acknowledges this matter could run afoul of

the Brillhart doctrine if the Colorado action is remanded to the

Colorado state court.    The Court, therefore, grants Elcon leave

to renew its Motion to Dismiss if the Colorado District Court

remands the Colorado matter back to the Colorado state court.




                               CONCLUSION


18 - OPINION AND ORDER
     Case 3:17-cv-01658-BR   Document 50   Filed 05/29/18   Page 19 of 19




     For these reasons, the Court GRANTS in part and DENIES in

part Plaintiff’s Request (#45) for Judicial Notice and DENIES

Defendant Elcon Associates’ Motion (#42) to Dismiss Pursuant to

the Federal Declaratory Judgment Act.        The Court, however, GRANTS

Elcon leave to renew its Motion to Dismiss if the Colorado

District Court remands the Colorado matter back to the Colorado

state court.

     IT IS SO ORDERED.

     DATED this 29th day of May, 2018.



                                       /s/ Anna J. Brown


                                  ANNA J. BROWN
                                  United States Senior District Judge




19 - OPINION AND ORDER
